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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                           ABINGDON DIVISION

UNITED STATES OF AMERICA                      )
                                              )
                                              )     Case No. 1:11CR00026-4
                                              )
v.                                            )     OPINION AND ORDER
                                              )
DAMON DOCK, JR.,                              )     By: James P. Jones
                                              )     United States District Judge
                  Defendant.                  )

      Damon Dock, Jr., Pro Se Defendant.

      Damon Dock, Jr., proceeding pro se, had filed a Motion to Vacate, Set

Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255 that I dismissed on July

27, 2015, pursuant to the United States’ motion to dismiss. United States v. Dock,

Jr., 2015 WL 4529757, at *1 (W.D. Va. July 27, 2015). I subsequently denied a

Motion for a Certificate of Appealability (ECF Nos. 475-476) and a “Motion

Requesting Additional Findings of Fact and Conclusions” (ECF Nos. 478-479).

Thereafter, the United States Court of Appeals for the Fourth Circuit dismissed

Dock’s appeal on January 20, 2016, and denied a petition for a rehearing on April

19, 2016. United States v. Dock, Jr., 631 F. App’x 152, 152 (4th Cir. 2016)

(unpublished).

      Dock has now returned to this court with a motion for reconsideration
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pursuant to Federal Rule of Civil Procedure 60(b)(1). Dock argues that I erred in

dismissing an ineffective assistance of counsel claim based in part on a

codefendant’s allegedly exculpatory declaration. Dock has presented this claim to

this court and the court of appeals four times, and each time the claim has been

rejected because the Federal Rules of Evidence did not permit the declaration to be

admitted. Furthermore, I already determined that even if the declaration was

admitted, it would not have changed the outcome of the case. Accordingly, Dock

still fails to establish that his present argument warrants relief via Rule 60(b)(1) or

§ 2255, and it is hereby ORDERED that Dock’s motion for reconsideration (ECF

No. 522) is DENIED.

                                                ENTER: June 30, 2016

                                                /s/ James P. Jones
                                                United States District Judge




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